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            EXHIBIT A
       Case 1:21-mi-99999-UNA Document 878-1 Filed 03/26/21 PageFulton County Superior Court
                                                                 2 of 43    ***                 EFILED***LW
                                                                                      Date: 2/4/2021 4:19 PM
                                                                                    Cathelene Robinson, Clerk


                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA


JAMES J. BOUCHARD,

       Movant,
                                                            Civil Action
v.
                                                            File No. 2021CV345442
MATSON MONEY, INC.,

       Respondent.



                         PETITION TO COMPEL ARBITRATION

       COMES NOW, Movant James J. Bouchard (“Bouchard”), through his undersigned

counsel, pursuant to the Georgia Arbitration Code, O.C.G.A. § 9-9-6, and moves this Court for an

order compelling arbitration of his claims against Respondent Matson Money, Inc. (“Matson”) in

the Atlanta, Georgia office of American Arbitration Association, Inc. (“AAA”), in accordance with

the terms of an arbitration agreement between Bouchard and Matson, and shows the Court the

following:

                          PARTIES. JURISDICTION AND VENUE

                                                1.

       Bouchard is a resident of Fulton County, Georgia.


                                                2.

       Respondent Matson is an investment advisory firm headquartered in Ohio, and is subject

to the jurisdiction of this Court pursuant to the Georgia Long Arm Statute. Service of process may

be perfected by delivery of a copy of the Petition and Summons to Matson’s registered agent, Taft

Service Solutions Corp., 425 Walnut Street, Suite 1800, Cincinnati, Ohio 45202.
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                                                  3.

          This Court has personal jurisdiction over Matson pursuant to O.C.G.A. § 9-10-91(1)

 because Matson transacts business within this state; pursuant to O.C.G.A. § 9-10-91(2) because

 Matson committed tortious acts and omissions within this state; and pursuant to O.C.G.A. § 9-10-

 91(3) because Matson committed a tortious injury in this state caused by its acts and omissions

outside of this state and it derives substantial revenue from services rendered in this state.

                                                 4.

       Venue is proper in this Court pursuant to O.C.G.A. § 9-10-93 because the business at issue

was transacted in Fulton County, and the tortious act, omission or injury occurred in Fulton

County.


                                  FACTUAL ALLEGATIONS

                              The Parties’ Arbitration Agreement

                                                 5.

       Respondent Matson is a national investment advisory firm with numerous clients in

Georgia.

                                                 6.

       On October 5, 2018, Movant Bouchard open four investment accounts with Matson

through Matson’s Co-Advisor Investus Advisers, LLC (“Investus”) and Investus Representative

Christopher Bums (“Burns”). Also, Bouchard later opened a fifth account with Matson.

                                                 7.

       In connection with the opening of these accounts, Matson required Bouchard to sign

Matson’s standard form account opening documents, including identical Investment Management

Agreements - each of which contains an arbitration provision, drafted by Matson, that requires


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“any controversy” between Matson and Bouchard “arising from or relating to this Agreement

to be submitted to arbitration at AAA:


        ACCOUNT OWNER AGREES THAT ANY CONTROVERSY ARISING FROM
        OR RELATING TO THIS AGREEMENT ... ARISING FROM OR RELATING
        TO ANY ACCOUNT OF OR TRANSACTION WITH OR FOR ACCOUNT
        OWNER, OR THE CONSTRUCTION, PERFORMANCE OR BREACH OF
        THIS OR ANY OTHER AGREEMENT BETWEEN ACCOUNT OWNER AND
        MATSON ... WILL BE SUBMITTED TO AND SETTLED BY ARBITRATION
        IN ACCORDANCE WITH THE RULES THEN IN EFFECT OF THE IAAAI.
        ANY ARBITRATION SHALL BE HELD IN THE COUNTY OF HAMILTON,
        STATE OF OHIO.

(Investment Management Agreement, pp. 32-33, attached as Exhibit U (Emphasis added).


                                           The Arbitration

                                                 8.

       In September 2020, Bouchard had a “controversy” that “ar[ose) from and relate[s] to” the

Investment Management Agreement.            Specifically, Matson negligently handled Bouchard’s

accounts.   Accordingly, Bouchard filed an arbitration claim against Matson with AAA on

November 11, 2020, in accordance with the arbitration agreement in Matson’s Investment

Management Agreement. (A copy of Bouchard’s Statement of Claim is attached as Exhibit 2).

                                                 9.

       At about the same time, on October 28, 2020, Susan Zimmerman (“Zimmerman”),

another client of Matson who opened an account with Matson through its Co-Advisor Investus and

Bums, filed a lawsuit against Matson in the United States District Court for the Northern District

of Georgia seeking class certification on behalf of other “similarly situated” clients of Matson and

Co-Advisor Investus and Bums. Bouchard does not know Zimmerman and had no involvement

whatsoever in the filing of her lawsuit.



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                                                    10.

         On November 12,2020, AAA correctly determined that Bouchard’s arbitration claim arose

 out of a consumer agreement and is therefore subject to the Consumer Arbitration Rules. (A copy

 of the case initiation letter from AAA is attached as Exhibit 3).

                                                    11.

         Additionally, AAA determined that the venue provision in Matson’s arbitration agreement

that required the arbitration to be held in Ohio constituted a “substantial deviation” from the

Consumer Rules, which require consumer arbitrations to be held in a “Reasonably Convenient

Location”. {Id.) Accordingly, pursuant to the Consumer Rules, AAA found that the arbitration

must be held in its Atlanta, Georgia office, where Bouchard lives. {Id.)

                                                   12.

        In response, on November 12, 2020, Matson objected to arbitration of Bouchard’s claim

(the “Objection”), arguing that Bouchard’s claim “is not arbitrable at this time” because of

Zimmerman’s lawsuit. (A copy of the Objection is attached as Exhibit 4) (Emphasis added).

According to Matson, Bouchard must wait to bring his claim in arbitration because he is a member

of the putative class action filed by Zimmerman, and the arbitration agreement provides that:

        ...NO PERSON SHALL BRING A PUTATIVE OR CERTIFIED CLASS
        ACTION TO ARBITRATION, NOR SEEK TO ENFORCE ANY PRE-DISPUTE
        ARBITRATION AGREEMENT AGAINST ANY PERSON WHO HAS
        INITIATED IN COURT A PUTATIVE CLASS ACTION; OR WHO IS A
        MEMBER OF A PUTATIVE CLASS ACTION WHO HAS NOT OPTED OUT
        OF THE CLASS WITH RESPECT TO ANY CLAIMS ENCOMPASSED BY
        THE PUTATIVE CLASS ACTION UNTIL ffl THE CLASS CERTIFICATION
        IS DENIED: UP THE CLASS IS DECERTIFIED: OR (III) THE ACCOUNT
        OWNER IS EXCLUDED FROM THE CLASS BY THE COURT.

(Emphasis in the original). Based on this language, Matson contends that Bouchard cannot bring

his claims in arbitration until after the class is certified and he opts out of the class. {Id. p. 2).




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                                                 13.

        On November 13, 2020, Bouchard filed his Response in opposition to Matson’s Objection

(the “Response”) {see Response, attached as Exhibit 5). arguing that:

        (a)    Matson misrepresents the language of the arbitration provision           Contrary to

Matson’s contention, the arbitration agreement does not provide that a putative class member

cannot enforce the arbitration agreement. Rather, it provides that the arbitration agreement cannot

be enforced against a putative class member were he to initiate or join in a class action:

       ... NO PERSON SHALL BRING A PUTATIVE OR CERTIFIED CLASS
       ACTION TO ARBITRATION, NOR SEEK TO ENFORCE ANY PRE-DISPUTE
       ARBITRATION AGREEMENT AGAINST ANY PERSON WHO HAS
       INITIATED IN COURT A PUTATIVE CLASS ACTION; OR WHO IS A
       MEMBER OF A PUTATIVE CLASS ACTION WHO HAS NOT OPTED OUT
       OF THE CLASS ....

{Id.) In other words, Matson could not enforce the arbitration provision against Bouchard and

force him to arbitrate if he chose to participate in a class action - but it does not take away or

abridge Bouchard’s contractual right to enforce the arbitration provision nor allow Matson to force

Bouchard to participate in a class action if he chooses instead to arbitrate. Thus, Matson's

argument is frivolous based on the plain language of the Agreement.

       (b)     There is also no legal justification for Matson’s position. Matson’s misread of an

arbitration provision that it drafted and included in its standard client agreements and required

Bouchard to sign to open the accounts at issue serves one purpose: to force Bouchard to join a

class action against his will. Matson’s scheme conflicts with the bedrock legal rule that a putative

class member has a due process right to opt out of a class action. Phillips Petroleum Co. v. Shutts,

472 U.S. 797, 812 (1985); see also, Ticor Title Ins. Co. v. Brown, 982 F. 2d 386 (9th Cir. 1992),

cert denied 511 U.S. 117 (1994); Fed. R. Civ. P. 23(b)(3). Further, Matson’s argument ignores

traditional contract law principles.    Indeed, Matson wants to suspend Bouchard’s right to



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 arbitration arising from a contract between Bouchard and Matson because Zimmerman (who

Bouchard does not know, has never met, and is a stranger to Bouchard’s agreement with Matson)

filed a “putative” class action. But it is black-letter contract law that one party (e.g., Zimmerman)

cannot waive another party’s (e.g., Bouchard) contractual rights without that party’s consent.

Thus, Matson’s argument is also legally unsupportable.

        (c)    Matson’s Objection was filed in bad faith for the sole purpose of delay. Notably,

Matson does not dispute the validity of the arbitration agreement (which it drafted and required

Bouchard to sign), nor does it dispute that Bouchard’s claims are covered by the arbitration

agreement. Rather, Matson purposely distorts its own contract in order to claim that Bouchard

cannot pursue his arbitration claim until after Zimmerman’s class action is certified and Bouchard

opts out, which could take months or even years. Matson’s stalling tactic is particularly troubling

because it depends on Matson’s intentional mischaracterization of the plain language in its own

contract. Bouchard did not file or participate in the putative class action, and he cannot be forced

to wait to find out if a class is certified before he can pursue his own arbitration claim, especially

where a valid, binding contract between Matson and Bouchard provides the right to bring his

claims in arbitration under these circumstances.

                                                   14.

       On December 1,2020, AAA acknowledged receipt of Matson’s Objection and advised the

parties that “the issue of arbitrability can be raised to the arbitrator upon appointment.” (A copy

of the notice from AAA is attached as Exhibit 6). AAA’s notice further stated that it would proceed

with administration of the case upon receipt of Matson’s payment of its portion of AAA’s fees.

(Id)




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                                                  15.

        It is well-settled that where, as here, there is a broad arbitration clause, the question of

arbitrability is itself subject to arbitration. Moses H Cone Memorial Hospital v. Mercury

Construction Corp., 460 U.S. 1,24-25,1-3 S. Ct. 927, 74 L. Ed. 2d 765 (1983). See also, Wise v.

Tidal Construction Co., Inc., 261 Ga. App. 670,672-673 (2003) citing Collins & Aikman Products

Co. v. Building Systems, Inc., 58 F. 3d 16, 20 (2d Cir. 1995) (even the question of arbitrability is

itself subject to arbitration). Accord, Pickle v. Rayonier Forest Resources, L.P., 282 Ga. App. 295

(2006). Here, the arbitration provision is extremely broad, and therefore, as AAA correctly advised

the parties, the issue regarding arbitrability has to be submitted to the arbitrator.

                                                 16.

       However, instead of submitting the issue of arbitrability to the arbitrator, as required by

law and by AAA directive, Matson obstructed the arbitration process by refusing to pay its portion

of the AAA fees - and therefore, AAA was unable to proceed and had to close the file. (A copy

of AAA’s closure notification is attached as Exhibit 71.

                                                 17.

       Matson is an SEC Registered Investment Advisor (“RIA”) and as such, it is a “fiduciary”

subject to the Investment Advisors Act of 1940 (the “Act”).            In addition, the Investment

Management Agreement expressly provides that Matson was acting as Bouchard’s “fiduciary”.


                           MOTION TO COMPEL ARBITRATION

                                                 18.

       Bouchard filed an arbitration claim against Matson with AAA’s Atlanta office in

accordance with the terms of the arbitration provision in Matson’s own Investment Management

Agreement.


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                                                 19.

       Matson has refused to participate in and affirmatively obstructed arbitration; raised

frivolous objections to arbitrability in bad faith for the sole purpose of delay; refused to submit the

issue of arbitrability to the AAA arbitrator; and refused to pay its portion of the AAA forum fees,

thereby unilaterally preventing AAA from administering the arbitration, in breach of the parties’

arbitration agreement (which it drafted in its own client agreement and required Bouchard to sign).

                                                 20.

       Matson has acted in bad faith, been stubbornly litigious, and caused Bouchard unnecessary

time and expense, thereby entitling Bouchard to an award of fees and expenses, including

reasonable attorneys’ fees, pursuant to O.C.G.A. § 13-6-11.

       WHEREFORE, Bouchard respectfully requests that this Court enter an order

       (1)     compelling Matson to arbitrate Bouchard’s claims in the Atlanta, Georgia office of
               AAA, in accordance with the terms of the arbitration provision in Matson’s
               Investment Management Agreement;

       (2)     awarding Bouchard all costs and expenses, including court costs and reasonable
               attorneys’ fees, incurred in obtaining this Order; and

       (3)     for such other and further relief as the Court deems just and proper.

       This 4th day of February, 2021.                 Respectfully submitted,

                                                       DOVIN | FICKEN LLC


                                                  ■^"Edward J. Dovin
                                                     Georgia Bar No. 227645
                                                     ej do vin@dovinficken. com
                                                         Oa-XsLZ'S             JAS- -d1 clL^
Monarch Plaza                                          Allison S. H. Ficken
3414 Peachtree Road, NE, Suite 625                     Georgia Bar No. 355875
Atlanta, Georgia 30326                                 ahficken@dovinficken.com
(770) 829-3869 - telephone
(770) 829-3865 - facsimile                             Attorneys for Movant


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                                                        Matson Money, Inc.
                                                  Investment Management Agreement


The internal laws of the State of Ohio will govern this Agreement and its enforcement. Nothing herein will be construed in any manner
inconsistent with the Advisers Act or any rule or order of the SEC or under ERISA, if applicable.

         14.3 Right of Refusal, Headings, Severability, Counterparts; Survival

Matson Money reserves the right to refuse to accept or renew this Agreement in its sole discretion and for any reason. All Section headings in
this Agreement are for convenience of reference only, do not form part of this Agreement, and will not affect in any way the meaning or
interpretation of this Agreement. If any provision of this Agreement is or should become inconsistent with any present or fiiture law, rule or
regulation of any governmental or regulatory body having jurisdiction over the subject matter of this Agreement, such provision will be
deemed to be rescinded or modified in accordance with any such law, rule or regulation, in all other respects, this Agreement will continue and
remain in full force and effect. This Agreement may be executed in counterparts, each of which will be deemed an original and all of which
together will be deemed to be one and the same Agreement. The provisions of Sections 7, 8, 9,10,11 and 14 of this Agreement will survive
the termination of this Agreement.

         14.4 Entire Agreement; No Implied Waiver

This document states the entire agreement between the parties when executed and accepted and can be amended only by a written document
signed by all parties to this Agreement. No term or provision of this Agreement may be waived or modified unless the party against whom
such waiver or modification is sought to be enforced consents. The failure of Matson Money or Co-Adviser to insist at any time on strict
compliance with this Agreement or with any of the terms under this Agreement or any continued course of such conduct on their respective
parts will in no event constitute or be considered a waiver by either of them of any of their respective rights or privileges. You agree that this
Agreement, and all the terms in it, will be binding on your heirs, executors, administrators, personal representatives, and assigns.

        14.5 DeUvety of Written Communications

All written communication between Matson Money and the Co-Adviser pursuant to this Agreement will be delivered in accordance with the
agreement between Matson Money and the Co-Adviser. AH notices or other written communications required or permitted to be given to you
under this Agreement by either Matson Money or your Co-Adviser will be sent by first class mail, overnight mail with tracking record, or
certified mail, return receipt, requested to the address-of-record listed on your Account or such other addresses as you may designate in writing
or otherwise. Such communications may also be sent electronically by confirmed facsimile or confirmed email if you instruct Matson Money
and your Co-Adviser, through your Co-Adviser Representative, that you would prefer electronic forms of communication.

15. ARBITRATION

THIS AGREEMENT CONTAINS A PREDISPUTE ARBITRATION CLAUSE. BY SIGNING AN ARBITRATION AGREEMENT, THE
PARTIES AGREE AS FOLLOWS:

    •   ALL PARTIES TO THE AGREEMENT ARE GIVING UP THE RIGHT TO SUE EACH OTHER IN COURT, INCLUDING THE
        RIGHT TO A TRIAL BY JURY, EXCEPT AS PROVIDED BY THE RULES OF THE ARBITRATION FORUM IN WHICH A
        CLAIM IS FILED.

    •   ARBITRATION AWARDS ARE GENERALLY FINAL AND BINDING; A PARTY’S ABILITY TO HAVE A COURT REVERSE
        OR MODIFY AN ARBITRATION AWARD IS VERY LIMITED.

    •   THE ABILITY OF THE PARTIES TO OBTAIN DOCUMENTS, WITNESS STATEMENTS, AND OTHER DISCOVERY IS
        GENERALLY MORE LIMITED IN ARBITRATION THAN IN COURT PROCEEDINGS.

    •   THE ARBITRATORS DO NOT HAVE TO EXPLAIN THE REASON(S) FOR THEIR AWARD UNLESS, IN AN ELIGIBLE
        CASE, A JOINT REQUEST FOR AN EXPLAINED DECISION HAS BEEN SUBMITTED BY ALL PARTIES TO THE PANEL
        AT LEAST 20 DAYS PRIOR TO THE FIRST SCHEDULED HEARING DATE.
    •   THE PANEL OF ARBITRATORS MAY INCLUDE A MINORITY OF ARBITRATORS WHO WERE OR ARE AFFILIATED
        WITH THE SECURITIES INDUSTRY.

    •   THE RULES OF SOME ARBITRATION FORUMS MAY IMPOSE TIME LIMITS FOR BRINGING A CLAIM IN
        ARBITRATION. IN SOME CASES, A CLAIM THAT IS INELIGIBLE FOR ARBITRATION MAY BE BROUGHT IN COURT.

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                                                    Matson Money, Inc.
                                              Investment Management Agreement


    •   THE RULES OF THE ARBITRATION FORUM IN WHICH THE CLAIM IS FILED AND ANY AMENDMENTS THERETO
        SHALL BE INCORPORATED INTO THE AGREEMENT.

ACCOUNT OWNER AGREES THAT ANY CONTROVERSY ARISING FROM OR RELATING TO THIS AGREEMENT (INCLUDING
ANY CONTROVERSY BETWEEN MATSON MONEY, THE CO-ADVISER OR YOUR CO-ADVISER REPRESENTATIVE AND
ACCOUNT OWNER), ARISING FROM OR RELATING TO ANY ACCOUNT OF OR TRANSACTION WITH OR FOR ACCOUNT
OWNER OR THE CONSTRUCTION, PERFORMANCE OR BREACH OF THIS OR ANY OTHER AGREEMENT BETWEEN ACCOUNT
OWNER AND MATSON MONEY, WHETHER ENTERED INTO BEFORE OR AFTER THE DATE HEREOF, WILL BE SUBMITTED
TO AND SETTLED BY ARBITRATION IN ACCORDANCE WITH THE RULES THEN IN EFFECT OF THE AMERICAN
ARBITRATION ASSOCIATION. ANY ARBITRATION SHALL BE HELD IN THE COUNTY OF HAMILTON, STATE OF OHIO.
HOWEVER, THIS PARAGRAPH DOES NOT CONSTITUTE A WAIVER OF ANY RIGHT PROVIDED BY THE ADVISERS ACT,
INCLUDING THE RIGHT TO CHOOSE THE FORUM, WHETHER ARBITRATION OR ADJUDICATION IN WHICH TO SEEK.
DISPUTE RESOLUTION. THE AWARD OF THE ARBITRATORS, OR OF THE MAJORITY OF THEM, WILL BE FINAL, AND
JUDGMENT ON ANY AWARD RENDERED BY THE ARBITRATORS MAY BE ENTERED IN ANY COURT HAVING
JURISDICTION THEREOF.

NOTWITHSTANDING THE FOREGOING, NO PERSON SHALL BRING A PUTATIVE OR CERTIFIED CLASS ACTION TO
ARBITRATION, NOR SEEK TO ENFORCE ANY PRE-DISPUTE ARBITRATION AGREEMENT AGAINST ANY PERSON WHO HAS
INITIATED IN COURT A PUTATIVE CLASS ACTION; OR WHO IS A MEMBER OF A PUTATIVE CLASS ACTION WHO HAS NOT
OPTED OUT OF THE CLASS WITH RESPECT TO ANY CLAIMS ENCOMPASSED BY THE PUTATIVE CLASS ACTION UNTIL (I)
THE CLASS CERTIFICATION IS DENIED; (II) THE CLASS IS DECERTIFIED; OR (III) THE ACCOUNT OWNER IS EXCLUDED
FROM THE CLASS BY THE COURT. SUCH FORBEARANCE TO ENFORCE AN AGREEMENT TO ARBITRATE SHALL NOT
CONSTITUTE A WAIVER OF ANY RIGHTS UNDER THIS AGREEMENT EXCEPT TO THE EXTENT STATED HEREIN.

                      [INVESTMENT MANAGEMENT AGREEMENT CONTINUED ON NEXT PAGE]




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                                    BEFORE
                      THE AMERICAN ARBITRATION ASSOCIATION



James J. Bouchard,                                     )
                                                       )
        Claimant,                                      )
v.                                                     )
                                                       )       Case No.
Matson Money, Inc.,                                    )
                                                       )
        Respondent.                                    )




                                    STATEMENT OF CLAIM

        Claimant James J. Bouchard (“Mr. Bouchard”) hereby submits this Statement of Claim

and requests arbitration of his claims against Respondent Matson Money, Inc. (“Matson”).


                                     SUMMARY OF CLAIM

        Matson breached its contract with Mr. Bouchard, breached its fiduciary duty to him, and

negligently failed to safeguard his IRA account by not appropriately managing and monitoring

that account or discussing suspicious account withdrawals with him. The consequences of

Matson’s failures are devastating: Mr. Bouchard now faces a $325,000 net out-of-pocket loss

(nearly one-third of his hard-earned IRA over a forty-year career), plus substantial tax liability.

        In June 2019, just months after Mr. Bouchard retired and opened a long-term IRA account

with Matson in October 2018, it recommended, through its co-advisor Investus Advisors, LLC

(“Investus”) and its CEO Christopher W. Bums (“Burns”), that he withdraw over one-third of

the account and loan it to Investus at eight percent (8%) interest as part of a “peer-to-peer” lending

program (i.e., loans to other Matson/Investus clients). Shortly thereafter, Mr. Bouchard opened a



                                                                                                      EXHIBIT

                                                                                                                ~
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new Matson account that started receiving the monthly interest payments from the peer-to-peer

loans. Though Matson knew that Mr. Bouchard prioritized “capital preservation,” it said nothing

to Mr. Bouchard about these rapid, material, and taxable decisions involving two Matson

accounts.

       From June 2019 to August 2020, all interest and required principal payments on the loans

were made in a timely manner. However, when the September 2020 payment was not made,

Mr. Bouchard learned that Bums had disappeared and was under investigation by the SEC.

Mr. Bouchard immediately contacted his “Advisor” - Matson - which said it was reviewing its

records. Now that Bums faces an arrest warrant for defrauding clients, Mr. Bouchard presumes

his funds have been stolen.

       Under Matson’s Investment Management Agreement with Mr. Bouchard, Matson pledged

to serve as Mr. Bouchard’s “fiduciary” and “attomey-in-fact” with “discretionary authority” over

his IRA account. Specifically, Matson promised to monitor all “withdrawals” from his IRA

account so that it could “coordinate the activity in the account”, and it agreed to be “responsible

for frequent and open communication with [Mr. Bouchard] on all significant matters pertaining to

investments including (1) major changes in investment strategy, and portfolio structure.” In fact,

Matson assured the SEC in its publicly filed Form ADV that it "communicates directly with clients

on unusual circumstances, such as following up on suspicious transactions to enhance security. "

{See, Exhibit 1: Matson Money, Inc. Form ADV pp. 5-6) (emphasis added). Had Matson fulfilled

any of these duties, Mr. Bouchard would have avoided the devastating loss of irreplaceable

retirement savings earned over a long career. In fact, Matson should have known about Bums’s

fraud long before Mr. Bouchard opened his IRA account in late 2018 - because the scheme began

in 2017 and more than 50 other Matson clients had already been defrauded by that time.


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        Thus, Matson clearly breached both its contractual and fiduciary duties to Mr. Bouchard

and negligently failed to contact him about numerous red flags and instances of highly suspicious

activity in his account. Accordingly, Mr. Bouchard is entitled to recover all losses on his

investments in the peer-to-peer lending program, including unnecessary tax consequences of the

early withdrawals, plus interest, attorneys fees, and costs as specified in the Notes.


                                   FACTUAL BACKGROUND

        1.     Matson, Investus, and Burns

       Matson Money Inc. is an SEC Registered Investment Advisor (“RIA”) headquartered in

Mason, Ohio. As such, it is a “fiduciary” subject to the Investment Advisors Act of 1940

(the “Act”). Matson manages clients’ funds on a discretionary basis, and it presently has over

$8 billion in investor assets under management.

       Investus Advisers, LLC was also an SEC RIA, as of April 2017, headquartered in Atlanta,

Georgia. It is owned by Bums, its CEO. Investus helps its customers open accounts managed by

Matson and then serves as “Co-Advisor” on those accounts, with Matson acting as “Advisor.”

Investus does not have discretion over such accounts, but Matson does. Investus’ primaiy function

is to meet with customers, explain investment options, and help customers open Matson accounts.

       Bums is an SEC RIA who was previously registered with the Financial Industry Regulatory

Authority. Bums began his career in the securities industry in 2011 with One America Securities.

He is currently registered with Investus and advertises to the public under the “Dynamic Money”

platform. Bums frequently provided investment advice on major cable television outlets and had

a weekly radio show on popular Atlanta-area radio station WSB 750 AM. He is listed as the

“Co-Advisor Representative” on all of the Matson Agreements with his clients.



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       2.      Mr. Bouchard

       James Bouchard is a 64-year old who retired five months ago and lives in Alpharetta,

Georgia, with Anne, his wife of 41 years. Mr. Bouchard graduated from West Point, served for

six years as an Army officer, and then spent 35-years working for two corporations: Procter &

Gamble (17 years) and Clorox (18 years). Mr. and Mrs. Bouchard have two adult children, and

six grandchildren. Neither Mr. nor Mrs. Bouchard have any special training or education in

investment matters, let alone retirement planning; that is why they hired Matson to serve as their

“Advisor” on such issues.


       3.      Initial Dealings with Burns and Investus

       In April 2018, a family friend referred Mr. Bouchard to Bums for “retirement investment

advice.” At the time, Mr. Bouchard was considering retirement, but was unsure if he had sufficient

funds to support a comfortable lifestyle without becoming a burden to his children. Mr. Bouchard

set up a meeting with Bums to discuss these issues.

       Mr. and Mrs. Bouchard met with Bums on four occasions between April and September

of 2018 to discuss if and when Mr. Bouchard could retire from his position at Clorox, and any

investment advisory services Bums could provide to achieve that goal.           Investus charged

Mr. Bouchard $1,000 for the consultations.

       In their meetings, Burns appeared knowledgeable, savvy, and experienced. It was easy to

see why he had been so successful as a TV and radio investment expert. He also came across as

sincere and trustworthy when he talked about his wife, three children, and the well-known, local

church he attended. He shared with Mr. and Mrs. Bouchard that he grew up going to the same

church they had attended for more than ten years, and further disclosed that it was a major part of



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why he became a Christian and decided to become a youth pastor. Burns’s Christian faith was a

key reason Mr. and Mrs. Bouchard found him trustworthy, particularly because their faith has been

a major part of their lives since losing a child early in their marriage.

        As much as Mr. and Mrs. Bouchard liked and trusted Mr. Burns, his discussion about his

relationship with the management firm Matson Money scaled the deal. As discussed in the next

section, Bums explained that Matson would handle all their investments if they hired Bums. He

emphasized that Matson’s track-record of successfully managing customers’ most important

accounts was rock solid.

       Ultimately, Bums convinced Mr. Bouchard that he could comfortably afford to retire at

age 64, although he would not start drawing Social Security until he reached age 66 in 2022.


       4.      Dealings with Matson

       After Mr. Bouchard decided to move forward with Bums, he looked to Burns to explain

how his money would be managed by Matson in a safe and secure way. According to Bums, all

Mr. Bouchard’s retirement accounts would be transferred to a custodial firm such as E-Trade, and

would then be managed (traded) solely by Matson. He explained that his role at Investus was to

help Mr. Bouchard select his investment objectives, and thereafter, Matson would have “full

control” over Mr. Bouchard’s retirement accounts to properly invest and monitor the funds in

accordance with Mr. Bouchard’s conservative investment objectives.

       Notably, Bums stressed that every investment decision involving Mr. Bouchard’s

retirement accounts would be made and monitored solely by Matson, and he touted Matson as one

of the largest and most experienced money management firms in the world, having billions of

dollars under management. Bums was especially proud of his association with Matson as



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co-advisor on all his clients’ accounts. As a result, the Bouchards felt they could trust and rely on

Matson, and this allayed any concerns they might have had dealing solely with Investus and Bums.

       On October 5,2018, Bums helped Mr. Bouchard open four accounts with Matson: Account

#688343 (“IRA”), Account #688413 (“Personal TOD”), Account #688417 (“Roth IRA”), and

Account #690401 (“Inherited IRA”). The IRA account contained the bulk of the assets, over

$1 million. In connection with the opening of these accounts, Mr. Bouchard signed identical

Investment Management Agreements with Matson, which provided, in pertinent part:

    • Matson would serve as the Advisor over the accounts, with Investus acting as Co-Advisor
      and Bums acting as Co-Advisor Representative.

    ® Matson alone would have full “discretionary authority” over the accounts, acting as
      Mr. Bouchard’s “attomey-in-fact.” Investus and Bums would not have discretion over the
      accounts.

    • As Mr. Bouchard’s “attomey-in-fact,” Matson would have full authority to trade the
      accounts and "make investment decisions and effect transactions ... without seeking
      approval" from Mr. Bouchard.

   • Matson would monitor all the activity in the accounts, including all "withdrawals, ” so it
     could properly "coordinate the activity in the Account. "

   • Matson would be “responsible for frequent and open communication with [Mr. Bouchard]
     on all significant matters pertaining to investments including (1) major changes in
     investment strategy, and portfolio structure...”

   • Matson acknowledged that “as to the performance of its duties under [the Agreement], it
     is a ‘fiduciary.’”

(See, Exhibit 2: Investment Management Agreement (the “Agreement”)).

       Upon signing the Agreement and beginning the process of asset transfer to allow for

Matson’s management, Mr. Bouchard received a welcome letter from CEO Mark Matson dated

October 5,2018. (See, Exhibit3: Matson letter). In the letter, Mr. Matson thanked the Bouchards




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for “putting [their] trust in Matson Money and allowing us to share in your investment

experience." (Id.) (emphasis added).

       At the time Mr. Bouchard executed the Agreement(s) and received Mr. Matsons welcome

letter, Mr. and Mrs. Bouchard again met with Bums to discuss Mr. Bouchard’s investment

objectives in greater detail. After review of Matson’s defined list of “investment objectives,”

Mr. Bouchard identified “balanced growth” as his investment objective. Notably, “balanced

growth” was described by Matson on its paperwork as "capital preservation with moderate

growth...” (See, Exhibit 4: Account Owner Questionnaire, p. 7) (emphasis added). Bums

explained to Mr. Bouchard that Matson wouldfollow that objective.

       Finally, custodial accounts were set up at E-Trade to hold Mr. Bouchard’s retirement funds,

allowing Matson to effect trades in the securities of its choosing. In the following months, Matson

began purchasing securities in the accounts, largely its proprietary mutual funds, in keeping with

Mr. Bouchard’s stated investment objective of “capital preservation with moderate growth.”


       5.      Peer Connect Investments

       On June 19, 2019, during a regularly scheduled meeting in Investus’ offices. Bums

presented Mr. and Mrs. Bouchard with a potential investment opportunity: a peer-to-peer lending

program that he called the “Peer Connect Program” (the “Program”). According to Bums, the

Program involved loaning money to other clients associated with worthy organizations in need of

short-term financing. Most of these organizations were involved in very socially-conscious

endeavors, such as medical providers who wanted to assist refugees in impoverished foreign

countries. Bums said that many of his and Matson’s clients had participated in this Program and




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it was a fairly standardized investment that aligned with Mr. Bouchard’s objective to preserve

capital with moderate growth.

       According to Burns, the mechanics of the Program were straightforward: Mr. Bouchard

would sign a promissory note issued by Investus entitling Mr. Bouchard to eight percent (8%)

interest on his investment. Investus would then be responsible for sending the funds to the true

client “borrower” and collecting the interest and principal payments.1 Bums added that he and

Investus would stand behind the notes, but that the transaction would be done through Matson.

Indeed, a separate account would be set up at Matson specifically to hold the interest and

principal payments from Mr. Bouchard’s investments in the Program. Bums explained that the

Matson account would be set up before any money changed hands or paperwork was signed.

       Further, Bums emphasized that the Program was approved for IRA accounts, and assured

Mr. Bouchard in writing that there would be no adverse tax consequences. And given the 8%

guaranteed return, Bums advised that it would be an ideal way for Mr. Bouchard to bridge the gap

in his retirement income until he turned 66 and could start collecting Social Security.

       The Program appealed to Mr. and Mrs. Bouchard, especially because of its social purpose

and guaranteed income. Moreover, the fact that everything would be handled through Matson -

including setting up an account at Matson specifically for the investment - assured them of the

credibility of the program. It indicated to them that the entire investment “team” was participating

in and approved of Mr. Bouchard’s investment in the Program.




       i   The promissory note provided that collateral to secure the investment would be held at
Schwab.


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       Accordingly, on June 24, 2019, Mr. Burns helped Mr. Bouchard open a new account

(#715446) at Matson for the sole purpose of making an investment in the Program. The next day,

June 25th, Mr. Bouchard authorized the withdrawal of $350,000 from his Matson-managed IRA

at E-Trade for the purpose of investing in the Program. Those funds were deposited into his

checking account by E-Trade, and he then wrote a check to his Co-Advisor, Investus.

Mr. Bouchard then received a “Promissory Note - Peer Connect” (/.&, the peer-to-peer lending

program) for $350,000 - dated June 25, 2019 and signed by Burns as “owner” of Investus

(the “Note”). Bums also signed and delivered a “Guarantee.” The default paragraph in the Note

states that any amounts owed "may be collected forthwith from the pledged collateral held in

custody by Charles Schwab.” The Note also provides for the guaranteed 8% interest, plus all costs

and 20% attorneys fees should the Note be collected through an attorney.

       Subsequently, all payments due under the Note from July through November 2019 were

made in a timely manner and deposited in the Matson account specifically designated for this

investment (and under Matson’s management).

       In November 2019, Bums notified Mr. Bouchard that he had another peer-to-peer lending

opportunity that involved an environmentally-friendly waste management company that needed

short-term funds. Bums requested $50,000, again from Mr. Bouchard’s Matson-managed IRA,

with repayment to be made in a lump sum on January 3,2020 to Mr. Bouchard’s Matson account

created for the Program. Again believing that Bums, Investus, and Matson recommended and

approved this investment, Mr. Bouchard agreed to it and entered a second note with another

guarantee. Soon thereafter, $50,000 was withdrawn from Mr. Bouchard’s Matson-managed IRA.

Then in Febmary 2020, when the $50,000 note was due, the $50,000 principal was deposited back

into Mr. Bouchard’s IRA account at Matson and the $3,000 interest payment was paid to


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Mr. Bouchard directly. This, of course, reaffirmed the Bouchard’s belief that this was a legitimate

investment endorsed by Matson.

       In March 2020, Bums contacted Mr. Bouchard and suggested that all future interest

payments on the $350,000 Note be made directly to the Bouchards. Bums explained that the Covid

pandemic might cause disturbances to the stock market and receiving the interest payments directly

would provide the Bouchards with some peace-of-mind during this trying time. The Bouchards

followed Bums’ recommendation and appreciated that he was looking out for their best interests.

like the team at Matson.

       From June 2019 through August 2020, Mr. Bouchard received each monthly payment

when due on the $350,000 Note. However, soon after seeing that the September 2020 payment

had not been made, Mr. Bouchard learned in early October that Bums was missing. Mr.

Bouchard’s first reaction was to immediately call his “Advisor,” Matson. On October 6, 2020,

just days after hearing the alarming news about Burns’s disappearance, Mr. Bouchard contacted

Matson and spoke to Rick Wiehe, Matson’s Vice President of Operations. Mr. Wiehe said that

Matson was investigating the matter, and that Mr. Bouchard “would be assigned a new

Co-Advisor.” Mr. Wiehe also asked Mr. Bouchard to send him the Notes he had entered through

the peer-to-peer lending program. Shortly thereafter, a new “Co-Advisor” called Mr. Bouchard

and indicated that he had been assigned to Mr. Bouchard’s Matson accounts. When Mr. Bouchard

inquired about his IRA funds that had disappeared, the new co-advisor told him that he had just

learned about it the day before and that Matson’s “forensics team is looking into it.” That was

Mr. Bouchard’s last communication with Matson.




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        At this point, it is Mr. Bouchard’s understanding that Bums has gone missing from his

wife, children, and family. His car was found abandoned with copies of cashiers checks totaling

$78,000. Investus’ offices are closed, no money has been located anywhere to satisfy promissory

notes underlying the peer-to-peer lending program, and the federal authorities are pursuing

criminal charges against Burns.


                                           LEGAL ANALYSIS

        Based upon the foregoing facts, Mr. Bouchard’s claims against Matson include, without

limitation:

        1.     Breach of Contract

       2.      Breach of Fiduciary Duty

       3.      Negligence


1.     Breach of Contract

       Matson’s Investment Management Agreements (“Agreements”) with Mr. Bouchard

expressly provide that Matson will invest his assets on a discretionary basis as his fiduciary, in

accordance with his investment objectives. (Exhibit 2: Agreement, p. 24). Notably, the

Agreements expressly provide that Mr. Bouchard’s account will be invested in Matson’s

proprietary mutual funds (not in promissory notes). (Id, p. 24-25). Moreover, the Agreements

specifically provide that Matson will safeguard Mr. Bouchard’s IRA assets, and will monitor and

be aware of all “withdrawals” so that it can “coordinate the activity in the account”. (Id., p. 26).

Likewise, Matson’s Form ADV filed with the SEC also states that it will notify its clients of any

“suspicious” transactions so as to ensure the “security” of the accounts it manages.




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        Matson breached the Agreements (and its representations in its Form ADV) when it

allowed its co-advisor Investus to invest Mr. Bouchard’s irreplaceable, long-term IRA funds in the

peer-to-peer lending program rather than its proprietary mutual funds. Matson also breached the

Agreements by failing to contact Mr. Bouchard to discuss the highly irregular withdrawals from

his IRA and to advise him of the true nature of the peer-to-peer loans, if not outright reverse the

transactions. It is beyond dispute that Matson knew that Mr. Bouchard withdrew $350,000 -i.e.,

more than one-third of the account - from his long-term IRA just months after the account was

opened, and that he withdrew another $50,000 only a few months later. Upon learning of either

of these withdrawals, it was Matson’s duty to contact Mr. Bouchard because these transactions

were highly “suspicious” - withdrawal of a substantial portion of a recently established, long-term

IRA by a client planning for retirement with the stated objective of “capital preservation”

obviously raises a host of red flags. This is especially true because the withdrawals triggered

massive adverse tax consequences and required Matson to rebalance Mr. Bouchard’s account.

Matson plainly breached the Agreement by not contacting Mr. Bouchard at any time about the

suspicious withdrawals (or taking any action at all), despite the significant risks and costs. Had it

done so, all of Mr. Bouchard’s losses would have been avoided.


2.      Breach of Fiduciary Duty

        As an RIA, Matson was also undeniably acting in a fiduciary capacity, as a matter of law.

Under the Agreements, Mr. Bouchard granted Matsonfull discretion to manage his IRA account,

and as an RIA with discretionary authority over the account, Matson is subject to the Investment

Adviser’s Act of 1940, 15 U.S.C. § 80b-l et seq. (“IAA”), which establishes fiduciary standards

that govern the conduct of investment advisers in the handling of their clients’ investments. See,



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Securities and Exchange Commission v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 84

S. Ct. 275, 280 (1963) (“The Investment Advisers Act reflects a congressional recognition of the

delicate fiduciary nature of an investment advisory relationship.”)! Transamerica Mortgage

Advisors, Inc. v. Lewis, 444 U.S. 11, 17, 100 S. Ct. 242 (1979) (“section 206 [of the Investment

Advisers Act of 1940] establishes ‘federal fiduciary standards’ which govern the conduct of

investment advisers....”).    In fact, Matson expressly acknowledged in its Agreements with

Mr. Bouchard that it was acting as his “fiduciary.” (See, Exhibit 2: Agreement, p. 28).

        This fiduciary duty governed all aspects of Matson’s advisory relationship with

Mr. Bouchard, and clearly extended to the selection of investments in Mr. Bouchard’s accounts.

Indeed, the discretion granted in the Agreements was for the express purpose of trading.

monitoring, and managing Mr. Bouchard’s investments. Thus, Matson not only acknowledged

that it was obligated to act as Mr. Bouchard’s fiduciary, but it also entered an Agreement to

exercise discretionary authority over his accounts, which under well-established law meant Matson

served as his fiduciary.

        “The fiduciary duty is the highest standard of care recognized under the law and serves as

a bedrock principle of investor protection.” Southern California Meat Cutters Unions v. Investors

Research Co., 687 F. Supp. 506 (509 (C.D. Cal. 1988). Accordingly, under federal securities law

and Ohio law, an investment adviser must act with the utmost good faith and loyalty, solely in the

client’s best interest. Specifically, an adviser must (1) make full and fair disclosure, (2) exercise

the skill and prudence of his profession, and (3) monitor the account and adjust for changes in the

market. See Investment Advisors Act of 1940, 15 U.S.C.A 80b-l et. seq.

        As fiduciaries, investment advisers owe their clients an “affirmative duty of utmost good

faith, and full and fair disclosure of all material facts, as well as an affirmative obligation to employ


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reasonable care to avoid misleading clients.” SEC v. Capital Gains, supra. 375 U.S. at 194. As

the fiduciaty duty arises out of a relationship of trust, it clearly goes beyond the mere duty not to

lie or deliberately omit material facts. See, e.g., McGinn v. Merrill Lynch, Pierce, Fenner & Smith,

Inc., 736 F. 2d 1254 (Minn. App. 1984).

       An investment adviser handling a discretionary account also owes a duty to his client to

monitor the account on an ongoing basis. Leib v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 461

F. Supp. 951 (E.D. Mich. 1978) affd 647 F. 2d 165 (6th Cir. 1981). Indeed, for a discretionary

account, a broker or adviser is required to “keep informed regarding the changes in the market

which affect his customer’s interest and act responsively to protect those interests.” Id. at 953.

       Here, Matson clearly violated its fiduciary obligations under federal law and the

Agreements in numerous ways. First, Matson was undeniably aware of these withdrawals from

Mr. Bouchard’s IRA, since it was managing the IRA and would have to rebalance the remaining

assets in the account due to the withdrawals. Obviously, these withdrawals were highly suspicious

- over one third of a newly-established, long-term IRA for a client planning for retirement whose

investment objective was “capital preservation”, and which also resulted in a massive adverse tax

event. This clearly should have raised enormous red flags - yet Matson did not contact

Mr. Bouchard to discuss these withdrawals and took no action to safeguard Mr, Bouchard’s

investments.

       In addition, Bums’ scheme began in 2017 and more than 50 other Matson clients had

already been impacted before Mr. Bouchard opened his IRA with Matson. By 2020, that number

had grown dramatically and over 100 Matson clients (now including Mr. Bouchard) had been




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defrauded.2 Thus, Matson should have uncovered its Co-Advisors’ fraud long before he stole a

third of Mr. Bouchard’s IRA, and its failure to investigate Burns or the peer-to-peer investments

involving scores of Matson client accounts was a violation of its fiduciary duty to manage, monitor

and safeguard Mr. Bouchard’s assets with the utmost good faith, in Mr. Bouchard’s best interest.

Indeed, Matson clearly had a duty to know of and understand the peer-to-peer loan program given

that it involved Matson-managed accounts and Matson’s Co-Advisor. Plainly, Matson did not

exercise the utmost good faith and failed to adequately monitor Mr. Bouchard’s accounts and to

communicate suspicious transactions to him, and thus breached its fiduciary duty to Mr. Bouchard.


3.      Negligence

        Finally, Matson failed to exercise even reasonable care to monitor and protect the funds it

managed in Mr. Bouchard’s IRA. It failed to take any action even though it was aware of these

irregular and suspicious withdrawals from Mr. Bouchard’s IRA - and it failed to investigate

Investus, Burns, or the peer-to-peer program, even though more than 100 of its clients were

defrauded by the peer-to-peer loan program. In addition, Matson breached its duty to Mr.

Bouchard, pursuant to C.F.R. § 275.206(4)-7, to adopt and implement written policies and

procedures reasonably designed to prevent its co-advisor from causing an unreasonable risk of

harm the assets its clients entrusted to it to manage and invest, and further, to prevent violation of

the Investment Advisors Act of 1940. Further, Matson breached its duty to supervise Mr. Bums

under 15 U.S. Code § 80b-2. Thus, Matson breached the standard of care owed by an RIA to its

client, and is also liable to Mr. Bouchard for its negligence.



       2 https://www.aic.com/aiciobs/class-action-suit-filed-against-missing-
adviser/5MREV70ESJFHHH4YN2FUDL4GW0/


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                                    DEMAND FOR RELIEF

        On the basis of each of the claims set forth above, Mr. Bouchard is entitled to recover the

following damages:

       (a)     all losses which resulted from the peer-to-peer program outlined in the Note,

including unnecessary adverse tax consequences, in an amount to be proven at the hearing;

       (b)     8% interest on the principal balance of the Note from September 2020 until the date

of repayment, as provided in the Note;

       (c)     post-judgment interest from the date of the final Award until the date of repayment;

       (d)     attorneys’ fees and costs of this arbitration, as provided under Ohio law as well as

in the Note.


                               DEMAND FOR ARBITRATION

       Based on the foregoing, Mr. Bouchard respectfully requests arbitration of his dispute with

Matson before an arbitration panel in Hamilton County, Ohio acting under the sponsorship of the

American Arbitration Association.
       This/ l~^day of November 2020.

                                             Respectfully submitted,

                                             DOVIN | FICKEN LLC



                                             Edward J. Dovin
Monarch Plaza
3414 Peachtree Road, NE
Suite 625                                     CLUX$            •—cl
Atlanta, Georgia 30326                       Allison S. H. Ficken
(770) 829-3869 - telephone
(770) 829-3865 - facsimile                   Attorneys for Claimant



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                Association
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                                  FOR DISPUTE RFSOI UTION’                                         1101 Laurel Oak Road
                                                                                                     Voorhees, NJ 08043



November 12,2020

Chris Burns
Matson Money, Inc.
5955 Deerfield Boulevard
Mason, OH 45040
Via Email to: info@matsonmoney.com

Case Number: 01-20-0015-6651

James Bouchard
-vs-
Matson Money, Inc.

Dear Parties:

The claimant has filed with us a demand for arbitration. The American Arbitration Association (“AAA”) has
determined that this arbitration arises out of a consumer agreement and, as such, the Consumer Arbitration Rules
(“Consumer Rules”) apply to this dispute. The Consumer Rules may be found on our website at www.adr.org.

Under R-12 of the Consumer Rules, businesses that provide for AAA arbitration in a consumer contract are
obligated to submit their current or proposed consumer agreements to the AAA for review and inclusion on the
Consumer Clause Registiy (“Registry”). The AAA reviews the agreement for material compliance with the due
process standards of the Consumer Due Process Protocol (“Protocol”) and the Consumer Rules. The AAA’s
review is administrative; it is not an opinion on whether the arbitration agreement, the contract, or any part of the
contract is legally enforceable.

This business has not previously submitted its consumer arbitration clause for review. As such, the AAA will
review the clause for this matter on an expedited basis. The additional fee for this expedited review is $250,
payable by the business.

The business is also directed to submit its current consumer arbitration clause for inclusion on the Registry
at httos:/Avww.adr.ora/Consumer at which time the business will also incur a $500 Registiy fee. Once the
business’ clause is registered, it will no longer be assessed the $250 additional expedited review fee on each
consumer case filed.

We note that the arbitration provision has a material or substantial deviation from the Consumer Rules
and/or Protocol. Specifically, the provision states:

         ANY ARBIRTRA TION SHALL BE HELD IN THE COUNTY OF HAMILTON, STA TE OF OHIO.

The above provision violates Principle 7: Reasonably Convenient Location. If a party believes that there are
additional conflicts with the Protocol and/or Consumer Rules, those issues may be brought before the arbitrator
once one has been appointed.

However, so that we may commence administration of this matter, we are requesting that the business waive
the above provision(s) and agree to have this matter and any future consumer arbitrations filed under this
agreement administered under the Consumer Rules and in compliance with the Protocol. Please confirm



                                                                                                                 EXHIBIT
                                                                                                                   &
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your agreement to waive the above-quoted provision by signing and dating below and returning a copy of this
letter. Absent receipt of the requested waiver, the AAA will decline to administer this dispute and possibly any
future consumer arbitrations involving this business. Please note that pursuant to the R-l(d) of the Consumer
Rules, should the AAA decline to administer an arbitration, either party may choose to submit its dispute to the
appropriate court for resolution. In addition, Rule R-9 states either party may choose to take the claim to small
claims court if the claim is within the jurisdiction of that court.


Business (authorized representative)                              Date

Under the Consumer Rules, the consumer pays a filing fee of $200 and the business pays a filing fee of $300. We
have received the consumer’s $200 portion of the filing fee. So that the filing requirements are complete, the
business is requested to submit filing fees of $300, the expedited consumer clause review fee of $250 and its
arbitrator’s compensation deposit of $2,500, totaling $3,050.

Please note payment should be submitted by credit card or electronic check. Please confirm the email
address AAA may send a secured paylink with instructions to submit payment via either method. In the
event that payment is being made by a third party, such as an insurance company, please request that payment be
sent directly to the business’ representative. The business’ representative should then forward payment to the
AAA in accordance with the foregoing instructions.

The requested payment and waiver should be received no later than November 30,2020 and the AAA may
decline to administer this dispute if the business does not timely respond. It should be noted that the consumer’s
satisfaction of the filing requirements triggers the business’ obligation to promptly pay its share of the filing fees
under the rules and the business may owe all or a portion of the filing fees even if the matter is settled or
withdrawn. The AAA will refund any overpayments received from the consumer with the filing.

No answering statement or counterclaim is due at this time and the parties will be notified of the applicable
deadlines upon satisfaction of all the filing requirements.

Thank you for your attention to this matter. If you have any questions please fee! free to contact us.

Sincerely,
Consumer Filing
Direct Dial: (877)495-4185
Email: ConsumerFiling@adr.org
Fax: (877)304-8457

cc:   Edward J. Dovin, Esq.
      Dovin Ficken, LLC
      3414 Peachtree Road Northeast
      Monarch Plaza, Suite 625
      Atlanta, GA 30326
      Via Email to: ejdovin@dovinficken.com
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                                                                                               425 Walnut Street , Suite 1800


Taft                                                                                           Cincinnati, OH 45202
                                                                                               Tel: 513.381.2838 | Fax: 513.381.0205
                                                                                               laftlaw.com




   Russell S. Sayre
   513-357-9304
   sayre@tafllavv.com


                                                    November 12, 2020


   BYEMAIL
   American Arbitration Association
   ConsumerFiling@adr.org
   1101 Laurel Oak Road
   Voorhees, NJ 08042

             Re:        Case No. 01-20-0015-6651 (Matson Money)

   Dear Sir or Madam:

          This firm is counsel to Matson Money, Inc. (“Matson Money”). I write in response to
   your correspondence dated November 12, 2020, advising Matson Money of the filing of the
   referenced arbitration, and asking that Matson Money waive the Hamilton County, Ohio venue
   provision in the relevant Investment Management Agreement (“Agreement”) with Claimant
   James Bouchard, prior to AAA’s commencement of administration of the matter.

           We will not at this time address AAA’s request that Matson Money waive the venue
   provision, because there is a more fundamental threshold issue that renders the request moot.
   Specifically, this matter is not arbitrable at this time. The Agreement and the provisions of
   section 15 thereof provide that a party may not invoke the Agreement’s arbitration provision
   while the claimant is a member of a putative class in a pending class action. The relevant portion
   of section 15 of the Agreement says:


             NOTWITHSTANDING THE FOREGOING, NO PERSON SHALL BRING A PUTATIVE
             OR CERTIFIED CLASS ACTION TO ARBITIU TION. NOR SEEK TO ENFORCE ANY
             PRE-DISPUTE ARBITRATION AGREEMENT AGAINST AM PERSON WHO HAS
             INITIATED IN COURT A PUTATIVE CLASS ACTION; OR WHO ISA MEMBER OF A
             PUTATIVE CLASS ACTION WHO HAS NOT OPTED OUT OF THE CLASS WITH
             RESPECT TO ANY CLAIMS ENCOMPASSED BY THE PUTATIVE CLASS ACTION
             UNTIL (I) THE CLASS CERTIFICATION IS DENIED; (II) THE CLASS IS
             DECERTIFIED; OR (III) THE ACCOUNT OWNER IS EXCLUDED FROM THE
             CLASS BY THE COURT. SUCH FORBEARANCE TO ENFORCE AN AGREEMENT
             TO ARBITRATE SHALL NOT CONSTITUTE A WAIVER OF ANY RIGHTS UNDER
             THIS AGREEMENT EXCEPT TO THE EXTENT STATED HEREIN

Taft Stettimus & Hollister LLP
Chicago / Cincinnati / Cleveland / Columbus / Dayton / Delaware / Denver / Indianapolis / Minneapolis / Northern Kenlucky^^jhoenix

   28231048vl
                                                                                                                                EXHIBIT

                                                                                                                         I H
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American Arbitration Association
November 12, 2020
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        Claimant Bouchard is a member of the putative class in Susan Zimmerman v. Matson
Money, Inc., (N.D. Georgia No. 1:20-cv-04409-WMR (copy of complaint attached), in which
Matson Money is named as a defendant. The allegations in Mr. Bouchard’s arbitration demand
are substantively identical to the claims asserted by Ms. Zimmerman on behalf of the putative
class. As such, Mr. Bouchard’s claims are not subject to arbitration, whatever the venue, until
and unless class certification is denied or Mr. Bouchard opts out of, or is otherwise excluded
from, a certified class. This, of course, makes sense because a litigant cannot pursue the same
claims in different forums, given the risk of double recovery, inconsistent rulings, etc.

         Please let me know if you have questions or wish to discuss this further.


                                                      Sincerely yours.

                                                             S. Stufie

                                                      Russell S. Sayre
RSS/ljm

cc:      Edward J. Dovin, Esq. (via email: ejdovin@dovinficken.com




28231048vl
       Case 1:21-mi-99999-UNA Document 878-1 Filed 03/26/21 Page 32 of 43



                                     Dovin Flcken LLC Monarch Plaza, 3414 Pcachlreo Hoad, NE Suite 625 Atlanta, Georgia 30326
Dovin I Flcken                       Main: (770) 829-3S69 Pax: (770) 8294JS65 dovlnncken.com




                                                                                                      Edward J. Dovin
                                                                                                 Direct (770) 829-3866
                                                                                             ejdovin@dovinfickcn.com

                                                              November 13, 2020
   Via Email: <ConsumerFiling@adr.org>
   American Arbitration Association
   1101 Laurel Oak Road
   Voorhees, New Jersey 08042

          Re:     James J. Bouchard (“Bouchard”) v. Matson Money, Inc. (“Matson ”)
                  AAA Case No. 01-20-0015-6651

   Dear Case Administrator:

          This letter serves as Mr. Bouchard’s response to Respondent Matson’s letter of November
   12, 2020 objecting to arbitration of this dispute. Matson’s letter raises arguments that are at best
   outrageous and at worst in bad faith. Either way, they are demonstrably wrong. On that basis,
   Matson’s argument in its November 12th letter should be rejected summarily as baseless.

           First, a cursory reading of the arbitration clause at issue makes it ciystal clear that the
   language Matson cites does not say what Matson claims. Indeed, Matson highlights only part of
   a sentence—that Mr. Bouchard could be a member of a “putative” class action if he elected that
   remedy—and argues on that basis that he should be deprived of his right to arbitrate his claims
   against Matson. But Matson ignores the first half of the sentence—which changes the meaning of
   the excerpt Matson quotes out of context. The deliberately omitted portion of the sentence
   provides:

          ...NO PERSON SHALL BRING A PUTATIVE OR CERTIFIED CLASS
          ACTION TO ARBITRATION, NOR SEEK TO ENFORCE ANY PRE-DISPUTE
          ARBITRATION AGREEMENT AGAINST ANY PERSON WHO HAS
          INITIATED IN COURT A PUTATIVE CLASS ACTION; OR WHO IS A
          MEMBER OF A PUTATIVE CLASS ACTION WHO HAS NOT OPTED OUT
          OF THE CLASS ....

   (Investment Management Agreement, Section 15). Thus, no person (i.e., Matson) can enforce the
   arbitration provision against any putative class member {i.e., Mr. Bouchard) were he to file or join
   in any class action. It does not say that a putative class member cannot enforce the arbitration
   provision against Matson—and yet, that’s exactly what Matson argues. Thus, Matson's argument
   is facially meritless based on the clear and unequivocal language ofthe agreement.




                                                                                                                         EXHIBIT
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        Secondly, Matson’s attempt to avoid its own arbitration provision under these
circumstances is outrageous. Indeed, Matson itself chose to include the arbitration clause in its
consumer contract of adhesion with Mr. Bouchard, and it drafted the language of that provision.
Now it is attempting to misinterpret the language of that provision so as to deprive Mr. Bouchard
of his right to arbitrate.

        Moreover, no law in this land would permit a defendant to force a consumer to participate
in a class action against his will and involuntarily deprive him of his right to demand arbitration
pursuant to an arbitration provision in the defendant’s own contract of adhesion. On the contrary,
the U.S. Supreme Court long ago established that each class member has a due process right to
opt out of the class action. Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985); see also,
Ticor Title Ins. Co. v. Brown, 982 F. 2d 386 (9th Cir. 1992), cert denied 511 U.S. 117 (1994);
Fed. R. Civ. P. 23(b)(3) (upon receiving a class action notice, a class member can opt out of the
class if the class member prefers not to participate). Thus, Matson's argument is also legally
baseless. Indeed, were Matson’s argument correct, it would lead to the absurd result ofallowing
Matson to unilaterally avoid its own arbitration provision andforce Mr. Bouchard tojoin a class
action against his will.

        Furthermore, Mr. Bouchard did not file the putative class action or participate in it in any
way, and the putative class action has not been certified (and may never be certified).
Mr. Bouchard, a 64-year old who recently retired, cannot be forced to wait months, or even years,
to see if the class is certified by the court before pursuing his claims in arbitration, as Matson is
attempting to accomplish through its duplicitous and misleading argument.

        Finally, it is worth noting that the provision prohibiting Matson from enforcing the
arbitration agreement against any class member is intended to protect the consumer’s right to
pursue a class action if he elects that remedy. It does not mean that one consumer no longer has
the right to pursue his claims in arbitration merely because another consumer filed a “putative”
class action, as Matson is attempting to argue. That would in effect allow one consumer to waive
or stay the right to arbitration on behalf of all other consumers by filing a “putative” class
action. No court would ever hold that one party can waive another party’s rights without that
party’s consent

        Not only is Matson’s position wholly without merit on that point, but this issue almost
always comes up in the opposite situation—i.e., where a defendant is seeking to avoid a class
action and force the class members into individual arbitrations (not a defendant seeking to avoid
arbitration and force the claims into a class action, as Matson is trying to do here). In such cases,
where a defendant seeks to avoid a class action and force class members to arbitrate, the majority
of courts have held that a defendant cannot enforce an arbitration provision in a consumer contract
against class members in order to avoid the class action and force the class members to pursue
separate arbitration actions. See e.g., Watkins v. Simmons and Clark, Inc., 618 F. 2d 398 (6th Cir.
1980); Johnson v. Tele-Cash, Inc., 82 F. Supp. 2d 264 (D. Del. 1999). That is why this language
was included in Matson’s arbitration agreement, expressly clarifying that “no person” (i.e.,
Matson) can enforce the arbitration provision against any member of a putative class action
(i.e., Mr. Bouchard). Thus, these court rulings, and the language in Matson’s own arbitration
provision, are meant to protect the consumer by allowing him to proceed in a class action instead
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of arbitration should he choose to do so. Under no possible reading of the law or the language in
this arbitration provision could Matson avoid its own arbitration agreement and force a consumer
like Mr. Bouchard to join in a putative class action instead of arbitration against his will.

        In conclusion, Mr. Bouchard has a contractual right to arbitrate his claims against Matson
immediately, without awaiting the results of a putative class action, pursuant to Matson’s own
consumer agreement, and nothing in Matson’s arbitration provision deprives him of that right.
Furthermore, Mr. Bouchard has not waived that right and he cannot be involuntarily deprived of
that right merely because one other consumer filed a putative class action.


                                                    Very truly yours.

                                                    DOVIN | FICKEN LLC



                                                    Edward J. Dovin

cc:            David Bouchard
               James Bouchard
               Anne Bouchard

linj/i-JD
DF/HouctanLTtcadinRs/Ct Resp Nfawnohj oih
       Case 1:21-mi-99999-UNA Document 878-1 Filed 03/26/21 Page 35 of 43


  @ American
                                 INTERNATIONAL CENTRE
                Arbitration      FOR DISPUTE RFSOI UTION'
                                                                                                  1101 Laurel Oak Road
                Association*                                                                        Voorhees, NJ 08043




December 1,2020

Edward J. Dovin, Esq.
Dovin Ficken, LLC
3414 Peachtree Road Northeast
Monarch Plaza, Suite 625
Atlanta, GA 30326
Via Email to: ejdovin@dovinficken.com

Case Number: 01-20-0015-6651

James Bouchard
-vs-
Matson Money, Inc.

Dear Parties:

This will acknowledge receipt of the parties comments and the issue for arbitrability can be raised to the arbitrator
upon appointment. The AAA will proceed with administration pursuant to the Rules.

We have not received the administrative fees and arbitrator compensation from respondent as requested in our
previous correspondence. Respondent is requested to remit payment in the amount of $3,050 to the AAA to
be received by December 15, 2020. As the claimant has met the filing requirements, respondent’s fee is due
regardless of whether the case settles or is withdrawn.

If payment was already sent, please send an email with the payment details so that payment is properly allocated.
If this non-payment is simply an oversight on respondent’s behalf, we trust payment will be made without delay.

We have also not received the business’ agreement to waive the deviations identified in its consumer
arbitration agreement and have this and all consumer arbitrations heard in compliance with the AAA’s
Consumer Due Process Protocol. Respondent is requested to sign where indicated on our previous
correspondence and return the signed copy to us when remitting the fees. Both payment and the signed
waiver are required for the AAA to continue with administration of this dispute.

Please note: should the business not comply with our request by the above response date, we may decline to
administer any other consumer disputes involving this business and request that the business remove the AAA
name from its arbitration clause so that there is no confusion to the public regarding our decision. Furthermore,
pursuant to the R-l(d) of the Consumer Arbitration Rules, should the AAA decline to administer an arbitration,
either party may choose to submit its dispute to the appropriate court for resolution.

If we do not timely receive the business’ portion of the filing fees, we will notify the parties that we have
administratively closed this case and refund any payment received from claimant. Please note payment should
be submitted by credit card or electronic check. Please confirm the email address AAA may send a secured
paylink with instructions to submit payment via either method. In the event that payment is being made by a
third party, such as an insurance company, please request that payment be sent directly to the business’
representative. The business’ representative should then forward payment to the AAA in accordance with the
foregoing instructions.


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Thank you for your attention to this matter. If for any reason respondent will not be able to comply with our
request by the noted response date, please send an email requesting an extension prior to the deadline.
Please email consumerfilin<;@adi'.ore if you have any questions.

Sincerely,

Consumer Filing Team
Email: ConsumerFiling@adr.ori’
Fax: (877)304-8457
       Case 1:21-mi-99999-UNA Document 878-1 Filed 03/26/21 Page 37 of 43




  ©             American
                Arbitration
                Association-
                                 INIERNA1IONAL CENTRE
                                 FOR DISPUTE RE SOI UTION'                                      1101 Laurel Oak Road
                                                                                                  Voorhees, NJ 08043




December 22, 2020

Edward J. Dovin, Esq.
Dovin Ficken, LLC
3414 Peachtree Road Northeast
Monarch Plaza, Suite 625
Atlanta, GA 30326
Via Email to: ejdovin@dovinficken.com

Russell S. Sayre, Esq.
Taft Stettinius & Hollister, LLP
425 Walnut Street
Suite 1800
Cincinnati, OH 45202-3957
Via Email to: sayre@taftlaw.com

Case Number: 01-20-0015-6651

James Bouchard
-vs-
Matson Money, Inc.

Dear Parties:

As of this date we have not received the required waiver and fees from Matson Money, Inc. in this matter.
Accordingly, we must decline to administer this case and have closed our file. According to R-l(d) of the
Consumer Arbitration Rules, should the AAA decline to administer an arbitration, either party may choose to
submit its dispute to the appropriate court for resolution.

Any payment submitted by a party will be refunded shortly.

Further, because Matson Money, Inc. failure to remit the foregoing constitutes a failure to adhere to our policies
regarding consumer claims, we may decline to administer future consumer arbitrations involving Matson Money,
Inc. The AAA’s consumer policies can be found on the AAA’s website, wwvv.adr.oru . We request that Matson
Money, Inc. remove the AAA name from its consumer arbitration clause so that there is no confusion to the
public regarding our decision.

If Matson Money, Inc. advises the AAA in the future of its intention to comply with the AAA’s Consumer
Arbitration Rules and if applicable, resolves any outstanding payment obligations, the AAA may consider at its
sole discretion, accepting newly filed consumer cases going forward.

Pursuant to the AAA’s current policy, in the normal course of our administration, the AAA may maintain certain
electronic case documents in our electronic records system. Such electronic documents may not constitute a
complete case file. Other than certain types of electronic case documents that the AAA maintains indefinitely,
electronic case documents will be destroyed 18 months after the date of this letter.

If you have any questions, please email ConsumerFiling@adr.oru.



                                                                                                             EXHIBIT
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Sincerely,

Consumer Filing Team
Email: ConsumerFiling@adr.org
Fax: (877)304-8457
         Case 1:21-mi-99999-UNA Document 878-1 Filed 03/26/21 Page 39Fulton
                                                                       of 43County***Superior Courl
                                                                                                                                                EFILED***LW
                                                                                                                                      Date: 2/4/2021 4:19 PM
                                                                                                                                   Cathelene Robinson, Clerk
                                                                  O          'WL] ""       °o

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                                                               Ei

               IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                                  136 PRYOR STREET, ROOM C-103, ATLANTA, GEORGIA 30303
                                                                      SUMMONS

       James J. Bouchard                                                               ) Case
                                                                                       ) No.:_
                                                                                                      2021CV345442
                                                                                       )
                                                                                       )
                                    Plaintiff,                                         )
                                                                                       )
             vs.                                                                       )
       Matson Money, Inc.                                                              )
                                                                                       )
                                                                                       >
                                                                                       )
                                                                                       )
                                  Defendant                                            )
                                                                                       )
                                                                                       )
                                                                                       )
                                                                                       )
TO THE ABOVE NAMED DEFENDANT(S):

You are hereby summoned and required to file electronically with the Clerk of said Court at
https://efilega.tvlerhost.net/ofsweb and serve upon plaintiffs attorney, whose name and address is:
                                                    Edward J. Dovin, Dovin Ficken LLC
                                                    3414 Peachtree Road NE, Suite 625
                                                    Atlanta, GA 30326
                                                    ejdovin@dovinficken.com
An answer to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service; unless proof of service of this complaint is not filed
within five (5) business days of such service. Then time to answer shall not commence until such proof
of service has been filed. IF YOU FAIL TO DO SO, JUDGMENT BY DEFAULT WILL BE TAKEN AGAINST YOU
FOR THE RELIEF DEMANDED IN THE COMPLAINT.

This           2/4/2021                             day of                                 , 20

                                                                                       Honorable Cathelene “Tina” Robinson
                                                                                       Clerk/Oif Superior Court
                                                                                       By.         LMd                         k
                                                                                                        DepujyCIerk

To defendant upon whom this petition is served:
This copy of complaint and summons was served upon you                                                                     .,20.


                                                                                                              Deputy Sheniff

Instructions: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum is used
                                                               Fulton County                     Superior Court
     Case 1:21-mi-99999-UNA Document 878-1 Filed 03/26/21 Page 40 of 43    *** EFILED***TB
                                                                                     Date: 2/24/2021 2:14 PM
                                                                                    Cathelene Robinson, Clerk

                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STATE OF GEORGIA


JAMES J. BOUCHARD,

       Movant,
                                                            Civil Action
v.
                                                            File No. 2021CV345442
MATSON MONEY, INC.,

       Respondent.



            MOTION FOR APPOINTMENT OF A SPECIAL PROCESS SERVER

       COMES NOW Movant James J. Bouchard (“Bouchard”), by and through his attorneys of

record, pursuant to O.C.G.A. § 9-11-4, and moves the Court for an Order Appointing a Special

Process Server to serve Respondent Matson Money, Inc. (“Matson”) with a copy of the Summons

and Petition to Compel Arbitration in this action, and in support, shows the Court as follows:

       1.      Respondent Matson is an Ohio corporation doing business in Georgia, subject to

the jurisdiction of this Court pursuant to the Georgia Long Arm Statute. Matson’s registered agent

is Taft Service Solutions Corp., 425 Walnut Street, Suite 1800, Cincinnati, Ohio 45202.

       2.      Movant Bouchard has contacted Action Legal Process (“Action”), a private process

server located in Cincinnati since 1994. (A copy of the homepage from Action’s website is

attached as Exhibit 1). It is anticipated that Angela Montgomery, a licensed process server

employed by Action, will serve the Petition and Summons to Matson’s registered agent.

       3.      Neither Angela Montgomery nor any other person employed by Action is a party

to this action, nor related to Bouchard by blood or marriage, nor employed by Bouchard or his

attorney.
      Case 1:21-mi-99999-UNA Document 878-1 Filed 03/26/21 Page 41  of 43
                                                                 Fulton County Superior Court
                                                                                           *** EFILED***QW
                                                                                   Date: 2/25/2021 9:46 AM
                                                                                  Cathelene Robinson, Clerk

                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

 JAMES J. BOUCHARD,
       Plaintiff,

         v.                                          CIVIL ACTION FILE NO.
                                                     2021CV345442

 MATSON MONEY, INC.,
      Defendant.

                  ORDER APPOINTING SPECIAL PROCESS SERVER

       This matter having come before the Court upon Plaintiffs Motion for Appointment of a

Special Process Server, and having reviewed the written submissions, and for good cause shown,

       IT IS HEREBY ORDERED that Angela Montgomery be appointed as special process

server to perfect service of the Summons and Petition to Compel Arbitration upon Defendant

Matson Money, Inc.

       SO ORDERED this 25              day 0f February                 ,2021.




                                                   Presiding Judge
                                                   Fulton County Superior Court
                                                   Atlanta Judicial Circuit



Filed and served electronically via Odyssey eFileGA
      Case 1:21-mi-99999-UNA Document 878-1 Filed 03/26/21 Page 42 of 43



       4.     Angela Montgomery is a citizen of the United States and is above the age of
eighteen.

       WHEREFORE, Movant Bouchard respectfully requests that the Court issue an Order

appointing Angela Montgomery as special process server to perfect service of the Summons and

Petition to Compel Arbitration upon Respondent Matson.

       This 24th day of February, 2021.

                                                 Respectfully submitted,

                                                 DOVIN | FICKEN, LLC


                                                 /s/Allison S. H. Ficken
                                                 Allison S. H. Ficken
                                                 Georgia Bar No. 355875


Monarch Plaza
3414 Peachtree Road, NE
Suite 625
Atlanta, Georgia 30326
(770) 829-3896
(770) 829-3865 (fax)
ejdovin@dovinficken.com
ahficken@dovinficken.com




                                             2
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                               CERTIFICATE OF SERVICE

       This is to certify that I have this day caused the within and foregoing MOTION FOR

APPOINTMENT OF A SPECIAL PROCESS SERVER to be served via Federal Express in a

properly addressed envelope with adequate postage thereon to:


               Matson Money, Inc.
               c/o Taft Service Solutions Corp.
               425 Walnut Street
               Suite 1800
               Cincinnati, Ohio 45202

       This 24th day of February, 2021.



                                                      Is/Allison S. H. Ficken
                                                      Allison S. H. Ficken
                                                      Georgia Bar No. 355875




Monarch Plaza
3414 Peachtree Road NE
Suite 625
Atlanta, Georgia 30026
(770) 829-3869
(770) 829-3865 (fax)




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